        USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 1 of 34

                                        0R\G\NAL

u---‘



                          COURT on: APPEALS or INDIANA                                 w   V“.


                                  CAUSE No. 35A05-0909-CR-515



        ERIC    SW8,                             Appalﬁunﬂnﬂuninoon'co'           Ciuit
                                                 Com,
                  Amellan!   (Dem      below),


           V.

                                                 Cane No. 35COI-08I2-FA-0W73,
        STATE OF INDIANA,


                  Amelie: (Plainliﬂ'below).      Hmmmmw
                                     BRIEF OF APPELLEE

                                                    GREGORY F. ZOELLER
                                                    Altomcy Gcnctal of Indiana
                                                    Atty. No. I958-98




                                                    Ann L. Goodwin
                                                    Deruw ATTORNEY GENERAL
                                                    Atty. No. 22365-53
                                                    Ofﬁce of Attorney General
                                                    Indiana Government Ccmcr
                                                        South. Fifth Floor
                                                    302 West Washington Sltcct
                                                    Indianapolis. IN 46204-2770
                                                    Telephone; (3| 7) 232-0709
                                                                             REBENE
                                                    Attorneys lm Appclk TAIE Oi INDIABNA
                                                                        Link OF Couars

                                                                   5-6


                                                                       kw    MR U v am
                                                                                   :
                      USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 2 of 34



                                                              INTHE


                                       COURT 0F APPEALS OF INDIAN                             '-
                                                                                                   '



                                                                                                       ¥




                                               CAUSE NO. 35A05-0909-CR-5 l 5



                      ERIC SKEENS.                             Appeal Rom the Huntington Comty Circuit
                                                               Conn,
                               Appellant (Defendant below),


                          v.

                                                               Cause No. 35C01-0812-FA—00073.
                      STATE OF INDIANA,


                               Amellee (Plairmﬂbelow).         Hon. Thomas M. Baku. Judge.

-‘C-.'_Q..—-‘-UQC--




                                                   BRIEF OF APPELLEE

                                                                      GREGORY F. ZOELLER
                                                                      Attorney General of Indiana
                                                                      Atty. No. 1958-98




                                                                      Ann L. Goodwin
                                                                      DEPUTY ArronNEY GENERAL
                                                                      Atty. No. 22365-53
                                                                      Oﬂicc of Attorney General
                                                                      Indiana Government Center
                                                                        South. Fiﬂh Floor
                                                                      302 West Washington Street
                                                                      Indianapolis. IN 46204-2770
                                                                      Telephone: (3 l 7) 232-0709


                                                                      Attorneys for Amelie:
 Statement ofthc Issues .............
                                                         W
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 3 of 34




 Table of Authorities ................................................................................................................. ii


                                                                                               .




 Statement of the Case .............................................................................................................. l
                                                                                                                                           I




 Statement of the Facts .............                                                                                                      2

 Summary of the Argument ......................................                                               .       .           ......   7
                                                         ,




Argumﬂh

                       l.    The evidence sustained the jury’s verdicts .................................................. 8

                                           A. The evidence showed that Skeens                      Wed    K.W.’s sex
                                              organ with his ﬁnger ............................................................... 9

                                           B.   KW.‘s testimony was not incredibly dubious. .................... 10

                       II.   The trial coun pwperly assessed the mitigating and aggravating
                              circumstances. ..................................................................................     ..   12


                                           A. The trial court did not overlook any propet miligators. ....... I3


                                                    i)   Adult Risk Assessment ................................................. l3


                                                   ii)   Employment History .................................................... l4

                                                  iii)   Undue Hardship .......................................................... IS

                                                  iv)    Circumstances Unlikely to Recur ................................ l6


                                           B. The trial court did not consider any imptopet                        amnion” l7
                                           C. Even if the trial court relied upon one impropet aggravating
                                                factor. the Conn should uphold Skecns sentence ............... l9


                       lll. Skeens‘       sentence, which is not the maximum for the oﬁcmes. is no!
                              inappropriate given the nature of his offenses and his character ............. 2|


                                           A. The nature of Skecns' offenses mails the sentence
                                                Imposed. .............................................................................. 2!




                                                                         i
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 4 of 34


                               B. Skeens' character also merits the substantial sentence
                                   Imposed ................................................................................ 24

 Conclusion    .......................................................                         .......                    27

 Ccniﬁcate of Service   ...........................                                                                       28




                                                          ii
                                                                    W
                 USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 5 of 34




                                                                              9m
                 Anglemyer v. Stale, 868 N.E.2d 482 (Ind. 2007) ................................................... 12, l3, l9, 20, 2|
                 Bennett v Slate, 787 N.E.2d 938 (Ind. Ct. App. 2003) ................................................................. l4
                 Book v. Slate. 880 N.E.2d 1240 (Ind. Ct. App. 2008) ................................................................... 2|
                 Cardwell v. Stale, 89S N.E.2d 1219 (Ind. 2008) ........................................................................... l3
                  Carter v. Slate, 7! l N.E.2d 83S (Ind. I999) ................................................................................. I3
                  Clark v. Stale. 728 N.E.2d 880 (Ind. Ct. App. 2000) .............................. 9
                 Comer v. Stale. 839 N.E.2d 721 (Ind. Ct. App. 2005) ................................................................... IS
                 Dinger v. State. 540 N.E.2d 39 (Ind. I989) ..................................................................................... 9
                 Dowdell v. Slate, 720 N.E.2d ll46 (Ind. I999) ...................................................................... IS
                 Faiarda v. Stale. 859 N.E.2d l20| (Ind. 2007) ............................................................................. ll
                 burland v. Slate. 855 N.E.2d 703 (Ind. Ct. App. 2006) ................................................................ l7
                 Hart v. Slate, 829 N.E.2d S41 (Ind. Cl. App. 2005 ....................................................................... 20
                 Hillenburg v. Slate, 777 N.E.2d 99 (Ind. Ct. App. 2002) .............................................................. I6
 ‘-              Hines v. Stale, 856 N.E.2d 1275 (Ind. Ct. App. 2006) .................................................................. l8
                 Kien v. Slate, 782 N.E.2d 398 (Ind. Ct. App. 2003) ...................................................................... 23
                 Kile v. Stare, 729 N.E.2d 2n (1nd. Ct. App. 2000) ....................................................................... I7
 -               McCoy v. Slate, 856 N.E.2d l259 (Ind. Ct. App. 2006) .......................................................... I9, 22
                 McHenry v. Stale. 820 N.E.2d 124 (Ind. 2005) ........................................................................ 9, 10
         a
                 McKinney v. Stale, 873 N.E.2d 630 (Ind. Ct. App. 2007) ............................................................. l4
 "               Mitchum v. State. 685 N.E.2d 671 (Ind. I997) .............................................................................. 22
                 Murray v. Slate. 76l N.E.2d 406 (Ind. 2002) ................................................................................ ll
             .
                 Newsome v. Slate, 797 N.E.2d 293 (Ind. Ct. App. 2003) .............................................................. l4
                 Rhodes v. Slate. 896 N.E.2d H93 (1nd. Ct. App. 2008) ...........                                      .........                l3
                 Rivers v. Stale. 9l5 N.E.2d Ml (Ind. 2009) .................................................................................. 25
                 Roney v. Slate, 872 N.E.2d I92 (Ind. Ct. App. 2007) ................................................................... 15
         '




                 Scan v. Slate, 77! N.E.2d 718 (Ind. Ct. App. 2002) ..................................................................... 10
                 Sherwood v. Slate, 702 N.E.2d 694 (Ind. I998) ......................                                                         .20
                 Singer v. Slate, 674 N.E.2d ll (Ind. Ct. App. I996) ..................................................................... 20
                 Stewart v. Slate, 555 N.E.ZG 12! (Ind. I990) .................................................................................. 9
                 Storey v. Slate, 875 N.E.2d 243 (Ind. Ct. App. 2007) ................................................................... 2|
         .,-


                 Ware v. Slate. 8l6 N.E.2d H67 (Ind. Ct. App. 2004) ................................................................... 20
                 Wilkins v. Slate. 500 N.E.2d 747 (1nd. I986) ................................................................................ l3
                 William v. Slate. 89! N.E.2d 62I (Ind. C1. App. 2008) ............................................................... 26
        "¢




-‘Onﬂ-ﬂpﬂﬂ




         ~




                                                                                 iii
-      USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 6 of 34


'-

 -


 .p-


       LC. § 11-8-8 ................................................................................................... 16
'_
       LC. § 3541-1-90) .........................................................................................                                   9
       LC. § 35-42-4-3(a) .........                  ....................................................................... 2, l2

       LC. § 35424.3(!» ........................................................................................................................... 2
       LC. § 35-42-440 to -l3 ................................................................................................................. 16
       LC. § 35-50-2-2(b)(4)(H) .............................................................................................................. 26
       LC. §§ 35-50-24, -6 ................                                                                                               .     21


                                                                         m                                                                       2|
       Ind. Appellate Rule 7(8) .......................................                                                     .             .




 .




 -




 ..




                                                                            iv
                      USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 7 of 34


                                                                       IN THE


                                               COURT 0F APPEALS OF INDIANA

                                                       CAUSE NO. 35A05-0909—CR-5 15



                      ERIC SKEENS,                                       Appeal from the Huntington County Cimuit
                                                                         Court.
                                       Appellant (Defendant below),



                                                                         Cause No. 35C01 ~0812-FA-00073.
                      STATE 0F INDIANA.


                                       Appellee (Plaintiﬂbelow).         Hon Thomas M. Baku, Judge.



                                                           BRIEF OF APPELLEE
---4---.------Q----


                                                          STATEMENT OF THE ISSUES

                                l.        Whether the State produced suﬁcicnt evidence that Skeens committed fours acts

                      ofclass   A felony child molesting and one act of class C felony child molesting.
                                ll.       Whether the trial com abused its discretion by overlooking any pmper midwors

                      or by consideting any improper aggravates when it sentenced Skecns.


                                lll.     Whether the sentence imposed is inapptopriate in light of Skeens' oﬁensa ad

                      his character.


                                                           STATEMENT OF THE CASE

                      Nature ofCase

                             Skeens appeals from his convictions fat four counts ofclas A felony child molecing aid

                      one count of class C felony child molesting.
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 8 of 34


 Course ofProceedings

         On December IO. 2008, the State charged Skeens with four counts ofclass A felony child

molesting' and with one count ofclass C felony child molesting.’ (Appeilant‘s App. l, 9-13).


 Skeens' jury trial took place on July 21-23, 2009, and the jury found him guilw as charm


(Appellant’s App. 6.7).     On August 31, 2009, the trial court sentenced Skccns to fonyoﬁvc years

for each of the class   A felonies and to seven years for the class C felony, to be served
consecutively, for an aggregate sentence of 187 years. (Appellant‘s App. 302‘


         Skcens ﬁled his Notice of Appeal on September l, 2009. (Appellant‘s App. 303-04).

The Notice of Completion of the Clerk's Record was ﬁled on September IS, 2009. (Appellant's

App. 305). The Notice ofComplction of the Transcript was ﬁled on Deoembct 21, 2009.

(Appellant‘s App. 307). Skecns timely ﬁled his Brief of Appellant on January 20, 2010, and


served the State with a copy via United States mail.    0n February l7, 20l0. the State ﬁled a

veriﬁed motion to set a new due date for the Brief of Appellee, due to the fact that no transcript


had been released to the State. The Court ruled upon the State's motion as a request for

extension of time and aldered the State to ﬁle its Briefon 0t before March 9, 2010.


                                      STATEMENT 0F FACTS

         luv. was two years old in 2002 when her mother me: Eric Skeens. (rt. 447-43)}

Skeens and K.W.’s mother married in 2004.        (Tr. 449).   K.W. thought of Skeens as her father

and called him “Dad.” (Tr. 464, 510).



'
    1nd. Code § 35424.3“).
‘
    Ind. Code § 35-42-4403).
’
    As noted above, thc Slate's motion for a new due date for the Brief of the Appellee was based
upon the fact that the Clerk of Courts had not yet rclcued the transcript lo the undersigned
Deputy. As of the ﬁling of this Briel, the transcript has still not been released. However. shortly
lﬁer being sewed with a copy of the State‘s motion for a new due date, opposing appellate
counsel forwarded an unofﬁcial digital ﬁle of the transcript lo the undersigned Deputy. ln lign
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 9 of 34


        Beginning in September of2007, Skecns, K.W.’s mother. K.W., and Sheen’s four-yenr-


old son lived together in a two-story home in the 300 block of Williams Street in Huntington.


(Tr. 455-56, 470).   K.W.'s mother worked during the week and on the weekends. so she leﬁ

KW. in Skecns’ care. (Tr. 458-63, S44). While K.W. was in Skeens' care. Skeens subjected
KW. to sexual intercourse by placing her on top of the baduoom sink on a towel and inscning
his penis in he: vagina until he ejaculated. (Tr. 5 17-18, 521-22. 544). After subjecting   KW. to

painful sexual intercom, Skeens       aimed Kw. to mime. whenqm Kw. obmed um

urinatingl   ...-J, she   was “leaking," and that she was bleeding. (Tr. 521, 523, 580).

       Skeens also subjected K.W. to oral sex by placing his tongue on her vagim (Tr. 523,

$27). This took place in the living mom. the bedroom that Skeens shared with K.W.'s mother,


and in the bathroom. (Tr. 524-25, $28). [n addition. Skeens placed his penis in K.W.’s mouth.

(Tr. 533, 536). This occurred in the living room and in the parental bedroom. (Tr. 533, 536).


       Skcens also digitally penetrated K.W.‘s sex organ.      (Tr. 531-32). This took place in the


living room, the parental bedtoom. and the balhmom. (Tr. $29).       81‘ch also touched K.W.'s

chest with his ﬁnger and tongue while both were undtcssed. (Tr. 515-16. 537-38). This


occurred in me living raom, me parental bedmom, and in the batman. (Tr. 516).


       During these offenses, Skeens would m limes molest K.W. while showing her

pomographic movies depicting multiple participants. (Tr. S39. 542-43).       On one occasion When

KW. refused to be molested and walked away from Skeens. he threatened lo call the police and
totellhcrmotherunlmshecunebackaothﬂlncouldﬁnishwhnluwasdoingwlm. (Tt.




of the Court‘s order that the Sm: ﬁle its Brief by Much 9, 2010, the Sm: has prepared its Btief
using the unofﬁcial Iranscrip! at its disposal. The State tcspectfully reserves the right to amend
0t supplement its Brief should the ofﬁcial transcript, when it is [cloned Io the Sate, leveal any
discrepancies with the unoﬂicial transcript used by the State in completing its Bn'ef.
    USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 10 of 34


     543-44). Skeens' threat frightened K.W. into submission. (Tr. 544). In addition, Sheen:


     directed K.W. not to tell anyone about the offenses. (Tt. 549-50).


               At times Skecns’ son was ptescnt in the home when Skeens molested KW. (Tr. 545-46).

     Skeens would direct his son to another area of the home before molesting K.W.     (Tr. 545-46).


     On one occasion, Skecns began playing with some new toys cars with his son in one room, left

     his son in that room, and then went lo his bedroom to molest K.W. (Tr. 545). Skeens‘ son
.




     knocked on the locked bedroom door while Skeens was molesting KW.. demanding to h- let in.

     (Tr. S45- .-,.


               K.W.'s mother moved out of the Williams Street home in June of2008 and took K.W.

     with her. (Tr. 455-56). K.W.'s mother continued to allow Skecns to visit with and care for      KW.

     (Tr. 464-65).     K.W. would at times spend up Io three nights a week with Skeens. (Tr. 465).

     Skeens continued to molest K.W. during this time. (Tr. 546). Skeens moved to Warsaw in

     September of 2008. (Tr. 466). K.W. also continued to visit Skeens in     me      and last had

     contact with him shortly before Thanksgiving of 2008. (Tr. 467).


               On December 5, 2008. K.W. saw a video in her third-grldc class about sexual abuse. (Tr.

     4| l).   Aﬁer viewing the video, KW. told her teacher that what they learned about in the video

     had happened to her. (Tr. 4i 3-] 4). Later that day, K.W. disclosed the offenses to a   Dcpmem
     of Child Services employee. (Tr. 423, 436. 439-40). On December 8. 2008. KW. was examined

     at the Fon Wayne Sexual Assault      Tmtmcm Center. (Tr. 553, S74). ln addition to other acts of

     molestation.     KW. npoﬂcd dating bet physical examination that Skeens rubbed his penis on bet
     anus and that he insened his ﬁngers inside her “private.” (Tr. 580. 584; Defense Exhibit A;

     Appellant‘s App. 327).     K.W. further reponed that Skeens had been doing these things to her

     since she was ﬁvc years old. (Tr. 580, 582).
        USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 11 of 34


                   On December 10, 2008. the State charged Skeens with four counts of class A felony child

         molesting and with one count of class C felony child molesting. (Appellant's App. l, 9-! 3). At


         Skeens' July 21-23, 2009. jury trial, K.W. testiﬁed that Skeens had ﬁlmed his penis in her mouth


         and fondled her chest when she was in ﬁrst made.            (Tr. 549).   KW. funhcr related that Skems

         touched the outside of her “private", rubbing it sometimes with one ﬁnger and sometima with


         two. (Tr. 530-31). 11w following exchange then took place between              KW. and the pmsecutor:

                           State: Herubbedit. Andwhcnhemuldmbinisthalinmcpm
                           where you go pony?
                           K.W.: Mmm,
                           State: Or somewhere else on your private?
I

                           KW;    0n the pan when l go         pm
                                                            (sic), potty.
                           Sm: Thepanwhenyou gopony? Andisthatadiﬁ‘enmpanof
                           your private then when you talking about him using one ﬁnger on
                           each hand?
                           K.W. What?
                           State: Okay. We're talking about your private okay? You have
                           diﬂ‘erent pans to your private all right? Then you talked about he
                           would touch the pan where you go potty. Did he ever tart [sic],
                           touch any other pans of your private then too?
                           K.W.: Um. he would touch the outside of it.

         (Tr. S3 1-32).   The sexual assault nurse who examined K.W. explained that in the vast majority of

         child molestation cases, even in those whetcin         m adult penetrates a   child, no physical evidence


         of genital injury is found.      (Tr. 592, 61 l).   K.W.’s mother reported that, although K.W. continued    _




         to be in thetapy. she experienced behavioral pmblems and had nightmates that caused             KW. to
    u



         wet the bed.     (Tr. 482-83).   The jury found Skeens guilty on all counts. (Tr. 698-99).

                   Skecns‘ pn-scnlence investigation rcpon (PSI) was ﬁled on August 25, 2009, and


         revealed the following. (Green App. 352). Skeens was approximately twenty-eight years old


         when he committed the instant offenses. (Gwen Appendix 352). On Fcbmary 12, 2009. Skeens

         was charged in Kosciusko County with an additional count of class A felony child molesting

         against   KW. (Green App. 354; Appellant's App. 328-30). Shoals reported no employment
    USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 12 of 34


        information in his PSI. (Green App. 35667). Skeens chatacterized his childhood as the “[blest


.       days of my life.” (Green App. 356).

                At his August 3 l . 2009, sentencing hearing, Skecns made no additions to his PSI and

        povided no swom testimony or allocation apart from denying his guilt. (Tr. 707-08). A letter

.       from K.W.’s mother in which she called Skeens a “monster” and described her guilt at not

        detecting lhc offenses was cntmd into the record. (Tr. 708; Appellant’s App. 299-300). Skeens


        argued that his lack of criminal history, his low Adult Risk Assessment score. the fact that the

        hmmes were the result of circumstanca unlikely to recur, undue hardship to his son. and his

        employment history were all mitigating factors. (Tr. 708-09). The trial com found as a

        mitigating circumstance that Skecns had no prior criminal record. (Tr. 716).     The trial com

        speciﬁcally stated that it considewd but rejecwd the other mitigating factors oﬁ‘ered by Skems.


        (Tr. 716).


               Thetrial counfoundasaggavatingcircummncestthkmwasinaposiﬁonofm


        with K.W., a factor that it stressed it gave “great weight.” (Tr. 7l 5-16). The trial coun also


        found as “very strong” awavating circumsmnces that KW. was in a position of care, control,


        and custody with K.W., that Skecns had subjected KW. to repeated sexual acts, that KW. was

        “very young...much younger than the statute even requires.” and that Skecns had threatened


        K.W. when she resisted. (Tr. 7| 5-16). The trial coun found that the aggravalors “strongly

        outweighed” the mitigator and sentenced Skeens to forty-ﬁve years for each of the class A


        felonies and to seven years for the class   C felony, to be served consecutively. for an aggregate

    .
        sentence of 187 years. (Tr. 71647; Appellant's App. 302).
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 13 of 34


                               SUMMARY 0F THE ARGUMENT
        l.      The Sale produced substantial and credible evidence that Skeens committed the

 oﬂenses. The evidence at trial was that Skeens‘used his ﬁnger to touch K.W.‘s private where she


 went potty and that he placed his ﬁngers inside he: private. This evidence supports his

 conviction for sexual deviate conduct.


        What is more, K.W.‘s testimony regarding the oﬁenm was not inctedibly dubious. She

 unequivocally testiﬁed tegatding the acts of molestation. Skeens does not contend that her


 mﬁmony was internally inconsistent or the malt of coercion. His argument on appeal consists

 of requesting the Court to rcweigh the evidence and to reassess K.W.‘s credibility, something

 (hat it will not do. Skeens‘ convictions should be upheld.


        ll.     The trial coun did not overlook any proper mitigating factol's. None of Skeens‘

 proﬂ‘ered mitigating circumstances were both supported by the record and simiﬁcant for


 sentencing. In addition, the trial court did not consider any improper aggravating circumstances,


 in that it made a panicularized ﬁnding as to why K.W.‘s age was an aggravating circumstance in


 this case, and the evidence supported ﬁnding both Skecns‘ position of trust and his position of


 can, custody, and control as aggravators.

        However. even if the trial coun found an improper aggravator, the Court may conﬁdently

 uphold Skecns’ sentence. The trial court placed great weight upon Skeens‘ position of trust, a

 factor that, along with the aggravates that Skeens committed repeated acts and ducatened K.W.,


 Skeens does not challenge on appeal. In addition. the trial com properly found K.W.'s age to he

 aggravating. Set against these four weighty aggravating circumstances is the sole mitigalor of


 Skecns‘ lack of criminal history, the signiﬁcance of which is greatly undercut by the many


 uncharged acts ofmolcsmion he committed against KW. over a period of a year. Given lb:
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 14 of 34


 weight and numbet of the        3W          and the relative insigniﬁcance ofthe mitiwor,   mud   is



 not mquircd.


         Ill.      The nature of Skeens’ crim merits the enhanced, consecutive     swim imposed
 here. Skeens, a father ﬁgure to K.W., committed at least ﬁve acts of molestation against her over


 the period of approximately a year. These discrete acts deserve separate punisluncnts since they


 occurred overa petiod oftimcand Skecnshad momdmnenoughopponunitytoconsidcrwlm


 he was doing. Evidence that Skecns committed repeated and uncharged oﬂ'enses against K.W.,

 Skecn" ‘       ‘s presence in the   home during some ofthe oﬁ'enscs, Skecns‘ threat to KW. to tell

 the police and her mother if she refused to submit, and the lasting, grave eﬂ'ect his crimes had on


 his K.W. further suppon the imposition of the substantial sentence imposed here.


        Funhennore, nothing about Skccns‘ character renders his sentence inappmprialc. Unlike

 so many other child molesters, Skcens was not the victim of fomer abuse. no: was he a drug


 addict or alcoholic. His character is simply that of a predator ofchildlen. Indeed. the fact (hm


 Skecns took the time to exhibit pornography to K.W. while molesting her indicates that his

 oﬁ‘enscs were subject to some degree of planning on his pan. There is no evidence that Skeens


 would have ceased the molestation of his own accord. Funhennorc. K.W. nevet indicated that

 bet relationship with Skecns was constructive. and the importance of his lack of criminal history


 is steady diminished hem, given the evidence that he committed       many other unchlrgcd acts

 ﬁns! KW. and was, thus, not living a law-abiding life apart from the charged aim.
                                                ARGUMENT
                            l.   The evidence sustained the jury‘s verdicts.

        Th: State produced suﬁcicm evidence that Skeens subjected KW. to scxml intercourse,

 placed his penis in her mouth. placed his mouth on her vagina. digitally penetrated her sex organ.
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 15 of 34


 and fondled her chest with an intent to arouse his sexual desims. In reviewing a challenge lo the

 sufﬁciency of the evidence. this Conn does not rcweigh the evidence 0t     am       the credibility of


 witnesses.    McHemy v. State. 820 N.E.2d 124, 126 (Ind. 200$). This Conn considers only the

 evidence favorable lo the verdict and all reasonable inferences thereﬁ'om. Id This Court will


 aﬁirm the conviction unless “no rational fact-ﬁnder" could have found the defendant guilty

 beyond a reasonable doubt. Clark v. Stale, 728 N.E.2d 880. 887 (Ind Ct. App. 2000).

       A. The evidence showed that Sheen penetrated KW): sex organ with his ﬁnger.

           °keens‘ ﬁrst challenge to the sufﬁciency of the evidence supporting his convictions is


 that then was no evidence that he penetrated K.W.‘s sex organ with his ﬁnger. (Appellant‘s Br.


 9-I 0).   The State charged Skeens with deviate sexual conduct in relevant pan as follows:

                  Sometime between Seplcmbcr 2007 and December 2008, Eric B.
                  Skeens. who was at least twenty-one years of age. performed
                  deviate sexual conduct with a child under fourteen, to wit: said
                  defendant penetrated, with an object, the female sex organ ofa
                  female child whose initials are K.W.

 (Appellant‘s App. 12). Dcvialc sexual conduct may be deﬁned as the penetmion of the sex


 organ of a person with an object. 1nd. Code § 35-41 -l-9(2). Our Supreme Court has held that a


 ﬁnger is an object within the meaning of the deviate sexual conduct statute. Stewart v. Stale. 555

 N.E.2d 12), l26 (Ind. I990). Proof of the slightest penetration is sufﬁcient to sustain a

 conviction for child molesting. Dinger v. Stale, S40 N.E.2d 39‘. 4O (Ind. I989).


           According to K.W.. Skeens touched her “private" where she goes “potty.” (Tr. 53 1-32).

 KW.‘s minnow at trial showed that the ma whet: she went potty was inside her private. as

 she differentiated that ates from the omside of her private. (Tr. 531-32). ln addition, the sexual


 assault nurse who examined     KW. testiﬁed that KW. reponed that Skecns had put his ﬁngers
 inside her private. (Tr. $84; Def. Ex. A; Appellant's App. 327). This was sufﬁcient evidenoc of
          USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 16 of 34


           peneuation of KW.’s sex organ to support his conviction for sexual deviate conduct. See Scot!


           v.   Stale, 77] N.E.2d 718, 714-25 (lnd. Ct. App. 2002) (upholding a conviction for sexual deviate


           conduct based upon the victim‘s testimony that the defendant put his ﬁnger inside her private
.*-.-‘-




           and touched the area where she used the restroom).

                     0n appeal, Skecns ﬁrst directs the Conn to KW.‘s tatimony descn'bing another,

           uncharged act of molestation by Skeens wherein he touched the outside of her “private," and he

           points to K.W.’s statement that Skeens did “not really” touch the inside of her private.


           (Anocllant’s Br. 10). This was evidence of another sexual act that does not support the jury’s


           vetdict as to the sexual deviate conduct charge, and thus will not be considered by this Coun


           when reviewing the evidence sustaining the actual charged oﬂ'cnsc. McHenry, 820 N.E.2d at

           126. ln addition, contmy to Sheen‘s assertion on appeal. K.W.’s subsequent testimony clearly


           established that Skecns also touched her on the inside of her private. (Appellant‘s Br. IO).   Aha
           KW. testiﬁed that Skeens touched bet when she went potty, the prosecutor asked hcr, “[dlid he
           ever tart [sic], touch any other pans of you: private then too?” (Tr. 53 l -32) (Emphasis added).


           KW. responded, “[ulm, he would touch the outside of it.“ (Tr. S32). Skeens‘ arguments on
           appeal arc thus nothing mom than an invitation to the Conn lo rcweigh the evidence, something


           that this Court refuses to do. Id.   Because the State produced substantial. credible evidence that

           Skcens’ ﬁnget    mated K.W.‘s sex omen, the Conn should aﬁnn his conviction for sexual
           deviate conduct.


                                    B.   KW): mﬁ-oly was not incredibly dubious.
                     Next, Skecns claims that his convictions cannot stand because K.W.‘s testimony


           regarding the oﬂ'enses was “wholly incredible." (Appellant's Br. ll). Thus, Skecns apparently


           seeks to apply the “inctedible dubiosity" rule to K.W.‘s testimony.    Accoding to that rule. an




                                                              10
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 17 of 34


 appellate court will impinge upon the responsibility of the fnct-ﬁndcr to judge the credibility of


 witrmscs only when confronted with inherently improbable. coerced, equivocal. or wholly

 uncorroboraled testimony of incredible dubiosity. Murray v. Slate. 761 N.E.2d 406, 408 (Ind


 2002). Put another way, application of this rule is limited to cases when a sole witness presents


 inherently contradictory testimony that is equivocal or the result of comion, and there is a


 complete lack of circumstantial evidence of the appellant‘s guilt.   Id.   Thus, Ihc rule is tardy


 applied, and is limited to cases in which “the testimony is so incredibly dubious or inherently


 improbahl- that no reasonable person could believe iL” Fajardo v. Slate, 859 N.E.2d IZOI,


 1208 (Ind. 2007).

        K.W.’s testimony was not incredibly dubious. She unequivocally testiﬁed that Skecns


 suﬁected her to sexual intercourse, oral sex, digital penetration. and the fondling and licking of

 hcrchest. (Tr. SI 5-18, 520-23, 527, 531-33, 536-38). There was nothing inherently improbable


 about K.W.’s description of these acts. Skecns points to no internal inconsistencies within her


 mimony. and he docs not claim on appeal tin! she was coerced into disclosure or her testimony.

 (Appellant's Br. l l-l 2). Thus, the incredible dubiosity rule dos not apply to K.W.'s testimony.


        Nevertheless, on appeal, Skecns attempts to impugn K.W.'s credibility in a number of


 ways. none of which is persuasive. (Appellant’s Br. ll-IZ).    First he claims that it is “wholly


 incledible" that Skeens could have subjected K.W. to sexual intcmourse without causing he:


 more serious injury. (Appellant‘s Br. ll). Howevct, injury is no! an element ofany of the

 oﬂ'cnses for which Skeens was convicted, and then was evidence presented at trial that in the


 vast majority of child molesting cases. even those involving penetration of a child by an adult,


 then is no evidence ofinjusy. (Appellant's App. 9-13; Tr. 59]. 6i I). Thus, amen lackof
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 18 of 34


 injury docs not undermine the State’s case, no: docs it nude:    KWJs testimony inherently
 improbable.


           Skecns also makes a general claim that K.W.‘s mﬁmony regarding the oﬂenses.

 including her testimony that Skecns placed his penis in her mouth,‘ is more plausibly exphined


 by the fact that K.W. “has watched pornography.” (Appellant's Br. ll-l 2). This argument is

 disingenuous a! best. considering that K.W. twtiﬁed that it was Skeens who exhibited


 pornography to her. (Tr. 539, 542-43). Moreover, having seen pornography docs not render

 K.w 'c metimony equivocal or inherently impmbable.

           Lastly, Skeens claims that it is “wholly incredible" he would “altemue between playing


 with his ﬁvc-ycar-old son and molesting his eight-year—old stepdaughter." (Appellant's Br. 12).


 However. Skeens fails to explain what is wholly incredible about his scheme to distract his son, a

 potential witness, with toys in order to facilitate the commission of the offenses. In shun,


 because KW. gave consistent, unwavering testimony regarding the acts of molestation


 committed by Skecns, and Skeens points to nothing in the record that discredits her tatimony so
                                                                                                r




 as to render it incredibly dubious, the Court should aﬁnn his convictions.


     ll.   The trial court properly assessed the nitiptiag and     maul; chum”;
           The trial court did not abuse its dismtion when il identiﬁed the mitigating and

 aggravating circumstances in this case.   The trial court’s sentencing determination will be

 reversed only for an abuse of discretion. Anglemyer v. Stale, 868 N.E.2d 482, 490 (Ind. 2007).


 An abuse ofdiscntion occurs where the u'ial coun's decision is clearly against the logic and




 ‘
   In this ponion of his Brief. Skecns also atgucs that merely placing his penis in K.W.'s mouth
 does not indicate any intent ‘o satisfy the sexual dcsims ofeither party. (Appellant‘s Br. l l).
 However. an intent lo satisfy sexual desire is not an clement of the offense of child molesting by
 deviate sexual conduct. Ind. Code § 35-42-4-3(a)



                                                   l2
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 19 of 34


 cﬂ'ect ofthc facts and circumstancu before the court, or the reasonable, ptobablc. and actual


 deductions to be drawn.   Id.



                    A. The trial court did not overlook any proper hummus.

         The trial court acted within its discretion when it considered, but speciﬁcally rejecwd,

 each of mitigating circumstances Skeens argues on appeal that it overlooked.     (Tr. 7l6).   An

 allegation that the trial coun failed to identify or ﬁnd a mitigating factor requims the defendant to


 establish that the mitigating evidence is both signiﬁcant and clearly supported by the record.


 Anglemver, 868 N.E.2d at 493 (citing Carter v. State, 7| l N.E.2d 835. 838 (Ind. 1m), and

 Wilkins v. Slate, 500 N.E.2d 747, 749 (Ind. 1986)). Here, the mitigators proffered by Sheen:


 were either unsupponed by the record, were insigniﬁcant for sentencing, or both.

        i)   Adult Risk Assessment


        Skems arguu that his low score on the Adult Risk Assessment should have been audited

 with mitigating weight. (Appellant‘s Br. l3-l4). Howevct, this Court has held that the use of


 such scoring models for sentencing purposes is improper as a matter of law. Rhodes v. Stale. 896


 N.E.2d H93. l 194-95 (Ind. Ct. App. 2008) (citing Cardwell v. Stale, 895 N.E.2d 1219. 1224

 (Ind. 2008)). ln so holding. the Rhodes Conn found that the use of scoring models undercuts the


 right of a defendant (o an individually craﬂed scmcncc. involves the duplicalivc consideration of


 sentencing factors, and oﬁen involves the consideration of factors that are of limited utility for


 sentencing. Id.


        Although Rhodes deal! with the use ofscoring models as aggravating cimumstances. the

 same raxionales relied upon by the Rhodes Coun apply to the determination of mitigating

 circumstances. In this case, the concern for duplicative considention of factors lenders lhe use


 of Skecns' risk assessment score particularly imptopet f0: sentencing. F0! example. the trial




                                                  13
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 20 of 34


 com already found Skeens’ lack of a criminal record as a mitigating circumsunce. and on

 appeal. he argues that his employment record merited mitigating weight. (Tr. 716; Appellant’s


 Br. l4).     However. six of the ten factors considered in his score stem from his lack of a criminal

 record, and his employment history was included as pan of his score. (Green App. 359).          The

 trial court did not abuse its discretion by Iefusing to consider a mitigating factor that is   cmntly

 improper as a matter of law and one that would have constituted “double dipping" of mitigating

 circumstances.


            ii)   Employment History

           The u'ial coun also properly refused to credit Skecns' niue-month employment histwy, as

 it   was unsupported by the record and was insigniﬁcant for sentencing. The only evidence

 provided by Skeens ngarding his employment was a notation in his Adult Risk          Amen!
 scale that hc had been employed for nine of the twelve prior months, ptesumably those months


 preceding his ants! in this mauet. (Green App. 359). Skeens oﬁeted no additional employment


 infommion to his PSI investigator and did not mstify mgarding his employment at his sentencing

 heating. (Green App. 356; Tr. 707-08). Thus, the trial coun properly rejected this mitigate:


 because it had no evidence lo consider regarding the details of Skeens‘ employment or his


 success at it. See Bennett v. Slate. 787 N.E.2d 938, 948 (1nd. Ct. App. 2003) (rejecting


 employment history mitigator when defendant did not present a wiﬁc work history,

 performance reviews. or attendance records).


            Furthermore, acady employment is not necessarily a signiﬁcant mitigating factot. See


 McKinney v. Stale. 873 N.E.2d 630. 646 (1nd. Ct. App. 2007) (citing Newsome v. Stale. 797

 N.E.2d 293, 301 (Ind. CI. App. 2003)).      Many people are gainfully employed such that a trial

 coun is not required to note it as a mitiglting factor. Id. Skccns was twenty-eight years old a1




                                                     l4
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 21 of 34


 the time he committed the oﬂ'enses. (Green App. 352).      Nine months ofgainful employment is

 not so stellar a tecord for someone of that age that it merited mitigating weight. Indeed, this


 Conn has refused to ﬁnd an abuse of sentencing discretion for failing to accord mitigating

 weight to employment records much more substantial than Skecns‘. See. e.g., Comer v. Slate,


 839 N.E.2d 72]. 729-30 (Ind. Ct. App. 2005) (upholding the sentencing court‘s refusal to ﬁnd

 mitigating eighteen years of steady employment). Thus, the trial court did n0! en in nmsing to


 ﬁnd Skeens' employment teoord as a mitigator.

           "" Undue Hardship


          The factor of undue hardship to Skecns’ son was equally unsupported by evidence and

 insiyliﬁcam for sentencing. This Conn has held that ”many pasons convicted of serious

 crimes may have one or more children and, absent special cimumstanoes, trial com: arc not


 required to ﬁnd that imprisonment will result in an undue hardship.” Roney v. Slate. 872 N.E.2d


 I92. 204-05 (Ind. Ct. App. 2007). trans. denied (quoting Dowdell v. State, 720 N.E.2d l I46,


 l   154 (Ind. I999». Skecns failed below. and fails   hm on appeal, to pmducc evidence ofany
 special citcumslances that would entitle him to mitigating weight   bmd upon undue hardship.
 (Green App. 355-56; Appellant’s Br. l4). In addition, even if the trial court had imposed

 advisory. concurrent sentences for the four class   A felonies and one class C felony and Skeens
 was afforded maximum good-time credit. he would still serve ﬁﬂeen years. Given that Skecns’

 son was almady six at the time of§kecns‘ trial. his son would have ruched the age of majority

 befom Skeens' release, even if that signiﬁcantly lesser sentence had been imposed. (Tt. 455-56).

 Given the lack of evidence in the record of special circumstances in this case and the fact that the

 hardship to his son would be the same even if a much lesser sentence had been imposed. the trial


 coun did not err in failing to recognize undue hardship as a mitigating factor




                                                  l5
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 22 of 34



         Iv) Circumstances Unlikely lo Recur


         Skeens' last argument penaining to mitigating circumstances is thm the trial ooun should


 have recognized that, because he has no legal right to contact with K.W., his crime was unlikely

 to recur. (Appellant's Br. l4). That factor was not signiﬁcant for sentencing for several reasons.


 First, there is no evidence in the record that   KW. had any dairc to contact Skeens, and K.W.‘s

 mother believed um Skcens committed the oﬂ‘cnscs, calling him a “monster" in the leuct she

 submitted to the sentencing com. (Tr. 708; Appellant’s App. 299). Given those circumstanea.


 it is highly unlikely   ”W ’“crc would ever be any contact between Skeens and K.W., let alone an

 opportunity to recommit the offenm.       It is unclear   why Skecns should be accorded mitigating

 weight towards his sentence due to a factor produced by the effect of the olﬂ‘enses themselves.

         Second, as a convicted offender against children, Skeens is required to register as a sex


 offender. is prohibited by law from working. volunteering. ox living near places Mien childtcn


 congregate, and is prohibited from contacting children on the intcmct. Ind. Code §§ 11.8-8 ct


 seq; 35-42-44 0 to -| 3. Thus. his Opportunities to meet othet children to molest will be greatly


 reduced due to opetation of law, another factor over which he has no control.


         Lastly, Skecns cites no case law wherein this Conn has found that a sentencing court


 abused its discretion in failing to recognize this mitigating cimumstanoe in a child molesting

 context. and the State is unaware of any. (Appellant’s 8t. l4). Indeed, this Court has noted um,


 in order for the "unlikely lo recur” mitigator lo be valid in a child molesting context. it must be


 supported by signiﬁcant evidence that renders it “undeniably creditworthy.” Hillenbwg v. &an,


 777 N.E.2d 99, l09 (Ind. Ct. App. 2002). Skeens presented no such evidence. Because the fact

 that Skeens will not have the opportunity to reoﬂ'end minst        KW. and his oppommity to offend




                                                     16
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 23 of 34


 against other children is greatly reduced due to operation oflaw, this ptoﬂ'eted mitigate! was not


 signiﬁcant for sentencing, and the trial court properly rejected it.


                         B.    The trial court did not consider any i-pmpcr amvators.

           The trial court enumerated in its written sentencing order ﬁve aggravating factors,

 namely “position of trust; position of care, custody and control; repeated acts; age of victim

 being 7   a 8 years old; threats to me victim.“ (Appellant's App. 301). The trial coun did non
 abuse its discretion by identifying any improper aggravating circumstances.


           i)   K. W. 's age


           Contrary to Skccns' argument on appeal, the trial count did not imptoperly consider

 K.W.’s age. As Skeens acknowledges in his Brief (Appellant’s Br. 15), a trial court may


 properly consider a victim’s age, even if it is an element of the oﬁ‘ense, if the trial court speciﬁu


 why the vicﬁm‘s age is aggravating. See Garland v. Slate, 85$ N.E.2d 703. 710 (1nd. Ct. App.

 2006). However, Skeens mainmins that the trial coun did not make a sufﬁciently particularized


 statemcnt regarding why K.W.‘s age was aggravating. (Appellant‘s Br. IS).


           In Kile v. State, 729 N.E.2d 21 l, 214 (Ind. Ct. App. 2000), the defendant challenged the


 use of his six year old son’s age as an aggravating circumstance in his sentencing for a neglect of


 a dependent conviction.        The Court held that, although the neglect of a dependent statute

 required the victim to be under the age ofeightecn, it did not require the victim to be as young as


 Kile’s son had been. Id. Thus. the Conn held that the ttial coun‘s holding that the son‘s “young


 age” was a circumstance sufficiently pmicularized to that case to render it a proper aggravating


 cimumsmnce. Id.


 ’
   There is a semi colon between the words “care" and “custody" in the trial court‘s sentencing
 Older. (Appellant‘s App. 301 ). However. Skeens contends that only two foetus wen considered




                                                      l7
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 24 of 34


           Skeens was convicted of ﬁve child molesting oﬂ'cnses, ail of which required that KW. be

 undet the age of fourteen. (Appellant's App. 9-1 3). K.W. was seven and eight years old when


 Skecns committed the offenses for which he was convicted. (Appellant's App. 9-l 3; Tr. 447).

 The trial coun found that K.W.’s age was aggavating because she was “very young...much

 younger than the statute even requires.” (Tr. 71 5-16). Pursuant to Kile, the trial ooun made a

 ﬁnding panicularizcd to this case explaining why K.W.‘s very young age was an aggravating

 circumstance. Thus, this aggravator was proper as a matter of law and in this case.


           ii)   Position ofCare. Custody, and Control


           Skeens’ last challenge to the trial court‘s ﬁnding of awawting circumstances is that it


 could not properly ﬁnd that his position ofuust and his position of care, custody. and control


 ovet K.W. were both aggravators for sentencing purposes. (Appellant’s Br. 15-16).         As a

 preliminary matter, although the trial court listed the two factors separately in its written order


 (Appellant's App. 301 ), it stated at Sheens' sentencing hearing that the position ofcue, custody,


 and control “gm along” with the position of trust aggravator.     (Tr. 7 I 5).   Thus, Skecns‘


 argument on this issue must fail, as it is no! clear that the trial com actually considered those

 two factors separately.

           Nevertheless, the State acknowledges that this Conn has sometimes analyzed the position


 ofuust and position of care, custody. and comm! factors as though they wen the same. See.

 e.g..   Hines v. Stale, 856 N.E.2d 1275. 1280 (Ind. Ct. App. 2006), trans. denied (upholding the

 position of trust aggravator where it found that the evidence showed that the victims was in the


 defendant's care when she spent the night at his house). However, although then may oﬁcn be


 overlap between those two famous. they are no! necessarily the same. For insuncc. this       Com

 by the trial com. mmely “position of trust" and “care, custody, and control.” (Appellant‘s 8t.
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 25 of 34


 has upheld the validity of the position of trust aggravate: based merely upon the nlalionship of


 the victim to the defendant where the victim knew the defendant as her father her whole life and


 called him “Dad." See McCoy v. Stare. 856 N.E.2d 1259. 1262 (Ind. CL App. 2006). Thus, that


 aggravator may be established without reference to a defendant's actual can. custody, and


 control over a victim.


          Herc, the evidence showed that    KW. considered Skecns to be ha father and called him
 “Dad.” (Tr. 464, 510). Based on this evidence, pursuant to McCoy, the sentencing court

 ”   _‘-,rly concluded that Skecns   was in a position of trust with KW. ln addition, the molestation

 look place while K.W.‘s mother was not at home and while die had placed KW. in Skeens‘ sole


 care. (Tr. 458-62, S44).   This separate evidence established the care, custody, and mum]


 aggravator, and, thus. the trial court did not abuse its discntion, if it did inked ﬁnd those two


 factors to be discrete aggravating cimumstanccs.


           C. Even it the trial court relied upon one i-pl-oper             math;      factor, the   Com
                                 should uphold Skms’ sentence.

          Even if the trial court improperly found that Skecns‘ position of care, custody, and

 control was an aggravating factor, the Court should still uphold his sentence.        Remand for

 resentencing is necessary only if the Court "cannot say with conﬁdence that the trial court would


 have imposed the same sentence had it propeﬂy considered reasons that enjoy suppon in the

 record." Anglemyer. 868 N.E.2d. at 491.       ll is clear that the trial   coun would have imposed the

 same sentence given the signiﬁcance of the clearly properly found aggnvating circumm

 and the comparative insigniﬁcance of the lone mitigating circumstance hcrc.

          Remand is not necessary here for the reason that Skeens does not challenge the trial

 coun‘s ﬁndings that he was in a position oftrust with K.W.. that he committed           med     acts of




 1546).


                                                     l9
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 26 of 34


 molestation agninst K.W., and mat he threatened K.W. (Appellant’s Br. 14-16).       It is well-scttled



 law that the ﬁnding ofevcn one valid aggravating factor may suppon the imposition of cnhmced

 sentences.   Sherwood v. Slate, 702 N.E.2d 694, 699 (Ind. 1998). Indeed, the position of trust

 aggravating citcumstance, which the trial court strand twice     m sentencing and once in its

 written sentencing order that it gave “yea! weight,” is, by itself, sufﬁcient to uphold even the


 imposition ofa maximum sentence for child molesting. (Appellant's Br. 301; TI. 715-16); see


 Hart v. Slate, 829 N.E.2d 54] , 544 (Ind. Ct. App. 2005); Singer v. State, 674 N.E.2d ll, l4 (1nd.

 r“ App. I996). In addition. as shown above, the trial court foam as a proper aggravating facto:


 that Skecns began molesting K.W. at the extremely young age of seven.


        Set against those four weighty aggravating circumstances is the only valid mitigating


 factor. Skecns’ lack ofcriminal history. (Tr. 716).    Although the relative weight ascribed to any

 sentencing factor is no longer available for review by this Conn, Anglemyer, 868 N.E.2d at 491 ,


 the Court can conﬁndently ﬁnd that the trial court would have imposed the same sentence


 despite his lack of criminal history.   The signiﬁcance of that factor was greatly reduced by the

 fact that Skeens committed repeated uncharged acts of the     molmﬁon against KW. at the

 Williams Street home over a period ofat least a year. (TI. 455-56, 516, 524-25, 528-29, 533-


 536546). See Ware v. Stale, 816 N.E.2d l 167, H79 (Ind. Ct. App. 2004) (holding that         Wm’s

 trustworthiness and law-abiding character not signiﬁcant for sentencing where defendant had an


 ongoing sexual nlationship with his victim over a period of months).

        Moreovet. at the time of the preparation ol‘his PSI. an additional class A felony child

 molesting charge involving K.W. was pending against Skeens in Kosciusko County.


 (Appellmt’s App. 328-30; Green App. 354). Thus, although Skeens had no previous


 convictions. then was evidence in the     mod that he was not leading a law-abidins   life   1pm
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 27 of 34


 fmm his instant convictions. Given the number and importance ofthe agyavating factors

 present here, particularly Skeens’ position of trust with K.W., and the diminished importance of


 the only valid mitigmor, the Court should uphold Skecns’ sentence.


                  Ill.   Skcens' sentence, which is not the maximum for the offenses, is I0!
                  inappropriate given the nature of his oﬁensu and his character.

           Skecns was convicted of four counts of class A felony child molesting and one count of

 class   C felony child molesting. (Appellant's App. 302). Thus, his faced a potential aggregate

 sentence of 208 years. lnd. Code §§ 35-50-24, -o.          The trial coun sentenced him   .   ny-ﬁve

 years for each of the class      A felonies and to seven years for the class C felony, to be served

 consecutively, for an aggregate sentence of 187 years. (Appellant‘s App. 301). Therefore,


 Skeens’ aggregate sentence is twenty-one years short of the maximum sentence he could have


 meived for his offenses. This subsuntial sentence is entirely appropriate given the nature of
                                                                 ~



 Skeens‘ offenses and his character.


           Anappellatecoun mynviscascntenceamhoﬁzedbystanneonlywhercthecomaﬁcr

 due consideration of the trial court‘s sentencing decision, ﬁnds that the sentence imposed is

 inappropriate in light ofthe nature ofthc oﬂ'ense and the defendant's character. Ind. Appellate


 Rule 7(8); Storey v. Slate, 875 N.E.2d 243. 252-53 (Ind. Cl. App. 2007), trans. denied. Upon

 reviewing a sentence for appropriateness, an appellate coun does not merely sthute its


 judgment for that of the trial court. See Book v. Stale, 880 N.E.2d 1240, 1252-53 (Ind. Ct. App.

 2008), trans. denied.      The defendant carries the burden to convince the appellate ooun that the

 sentence imposed is inappropriate. Anglemyer v. State. 868 N.E.2d 482, 494 (Ind. 2007).


                         A. The   nun of Skem‘ 0mm merits the sentence imposed.
          The   mm       of Skecns‘ offenses merits the enhanced. consecutive sentences imposed. The

 nature of Skeens‘ oﬂ'enses was that he subjected K.W.. who had always thought of him as her




                                                       2|
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 28 of 34


 fathet. to a variety of invasive sexual acts. (Tr. 464, 510).   1h: fact that Skeens was for all

 intents and purposes K.W.'s father renders his crimes much       mom egregious than if he had

 simply been a stranger to her. Indeed, this Conn has recognized that acts of molestation


 committed by father ﬁgures involve a violation of “one of the highest positions of trust" possible.

 McCoy v. State, 856 N.E.2d 1259. 1262 (Ind. Ct. App. 2006).

            Skecns used his position of trust and his access to KW. to ﬁrst subject her to performing

 oral sex on him and fondling her chest. (Tr. 549).      Although he was sentenced for oﬁenses

 cc‘   -L   tad dun'ng the time K.W. was seven and eight, there is evidence in the record that he


 began molwting KW. much earlier, when she was ﬁve years old. (Appellant‘s App. 301; Tr.

 S49, 580, 582).     Up until she was eight yeats old, Skeens subjected KW. to sexual intercourse,

 the giving and receipt of oral sex, digital penetration. and the fondling and licking of her chest.


 (Tr. 5l5-16, 520-23, 527, 53 I ~33, 536-38).      Aﬁcr performing painful sexual intercourse on

 KW., Skeens ejaculated inside her. (Tr. 5 7-18, 521-22, $80). In the aﬁcrmath. K.W.
                                               l




 experienced painful urination, and she obscured two things that no seven or eight year old girl


 should ever see, namely that she was bleeding and “leaking.” (Tr. 521. 523, 580). Skeens was


 convicted of only ﬁve offenses. (Appellant’s App. 302). However, there is an abundance of


 evidence in the record that he committed each ofthc charged acts multiple times and that he


 mbjected KW. to other uncharged acts ofmolestation, such as the fondling ofher anus with his

 penis and the fondling of the exten'or of her vulva with his ﬁngers. (Tr. 5 I 6, 524-25. 528-30.


 533, $80).


            The charged offenses wen separate and distinct acts of molestation that support the

 imposition ofconsecutivc sentences hen. See Mitchum v. Stale, 685 N.E.2d 671 , 680 (Ind.


 I997) (recognizing that the imposition of consecutive sentences rests upon the moral principle
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 29 of 34


 that separate and distinct crimes   dmrve separate pmﬁshments). This is not a case wherein the

 offenses took place in close proximity in time, rendering the imposition ofconsecutive     scum
 inappropriate.     See Kien v. Slate, 782 N.E.2d 398, 4l6 (Ind. Ct. App. 2003) (rcvetsing the

 imposition of consecutive sentences for two acts ofclass     A felony child molestation because they
 occurred within a short period of time such that the defendant did not have a chance to reﬂect


 upon his heinous crimes). The charged acts took place over the course of a! least a year. both

 before and aﬂer the family all lived together at the Williams Street home. (Tr. 455-56, 516, 546-

        ‘“
 49?         ‘ens had more than adequate time lo reﬂect upon the pmpriety of his conduct.


             Other circumstances surrounding these oﬂ‘cnses further tender Skeens‘ sentence


 appropriate. Skeens would exhibit pornography depicting group sex to K.W. while molestim


 her. an additional uncharged act ofdepnvity. (Tr. 539, 542-43).      Skeens would also leave his

 young son unattended aﬁer initially distracting him with toys so that he could molest KW. (Tr.

 545-46).      The effect on K.W. of listening to her young step-bmthcr pound on the locked door of

 the   mom when Skeens was molesting her must have been gavely disturbing. (Tr. 545-46). ln

 addition, on the one occasion when K.W. mustered the courage to resist Shows. he (hmtened to


 alert the authorities and to tell her mother. making it seem as though K.W.   wen the petpctrator

 and nox he, and making her afraid of two of the mos! likely sources of help. (Tr. 543-44).

 Skecns also ordeted K.W. not to tell anyone about his crimu, further ensuring     M   he could

 continue lo molest her. (Tr. 549-50).


          As a result of Skeens' offenses. KW. has behavioral issua and experiences nightmares

 so vivid that she wets the bed. (Tr. 482-83). K.W. continues to undergo therapy. (Tr. 482). In


 addition, although K.W. was the direct urge! of Skeens’ crimu. he Ins obviously also fonvet


 changed the life of K.W.’s mothct, who believed he: daughm’s disclosure md keenly feels the
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 30 of 34


 guilt of failing to detect the   ctim and lo ptotect K.W. from Skecns. (Tr. 708; Appellant‘s App.
 299-300).


         On appeal, regarding the nature of his oﬂ'enscs, Skeens only sates that he did not inﬂict

 “substantial" physical damage on his victim and used no force against her lo accomplish his


 crimes. (Appellant‘s Br. l7). However. Skeens does not           addm the psychological and
 emotional damage he rendend upon K.W.. nor docs hc seem to grasp that his threatening KW.


 and telling her not to reveal his crimes was a type of force that was likely more effective than

              '   ‘
 actual ph;           fame, as it is not as easily detected by others. Given Skecns‘ position as a father


 ﬁgure to K.W., the escalating and ongoing natun of the crinm, the npated and uncharged

 offenses he committed against K.W., Skeens’ son‘s plescme in the home during some ofthe


 oﬁenses, his threat to K.W., and the lasting, grave effect his crimes had on his victim, the Conn


 should leave the trial coun's sentencing order undisturbed.


                       B.   Skeem’ character tho merits the substantial sentence imposed.

         Moreover. Skecns' character does not militate fot a reduction in his sentence. Sheen:

 makes no claim on appeal, nor is them any evidence in the record, that Skeens was subject lo

 factors often cited to explain child molestation offenses, such as being the former victim of


 childhood sexual abuse or being nude: the inﬂuence ofdrugs and alcohol.           (Gwen App. 356-57).

 Skecns plainly and simply       med upon K.W. The         fact that Skeens took the time and effort t9


 display pornography to K.W. while molesting her indicates that these were not 3pm of the


 moment mistakes. but when the pmduct of some degree of meditation. (Tr. 539. S42).

        ln addition. there is no reason to believe that Skcens had any intention of discontinuing


 his molestation.      K.W.‘s mount, acknowledging what she considered lo be the important lithe:


 ﬂame role that Skecns played in K.W.'s life. continued to allow her to visit Skeens even she




                                                      24
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 31 of 34


 moved out ofthe Williams Street home and even aﬁer he moved to Kosciusko County. (TI. 464-

 65, 466-67). Since. at the time of his sentencing, there was an additional class      A felony child

 molesting charge pending against Skeens in Kosciusko County also pertaining to K.W., there is


 some indication in the record that he continued to molest her even aﬂer he moved away. (Gwen

 App. 354; Appellant's App. 328-30). His acts of molestation only stopped when KW. was

 emboldened to disclose the oﬁ‘ensu aﬂer viewing a sexual abuse plesemation at her school. (Tr.

 415-14).


          It further speaks ill   of Skeens’ character that he apparently panicipaled little in the

 ptemtion of his PSI, aﬁer his conviction for the offenses. Skeens failed to supply his PSI

 investigator with basic information routinely supplied by defendants regarding his mlstionship


 with his parents. his siblings. his formet marital status. his employment, or his ﬁnancial sums.


 (Green App. 356). Skeens' most detailed temarks to his PSI investigator entailed cxptew'ng

 dissatisfaction with his trial counsel.    (Green App. 357).

          Onappcal,Skeensﬁtstmgatthountomdwehissemmcebecmbefmsubjecting

 K.W. to extremely invasive, repeated sexual abuse, he had a "constructive" nlationship with her.

 (Appellant’s Br. l7). In support of his argument, Skeens cita Rivers v. Slate, 915 N.E.Zd 14].


 I43 (Ind. 2009). ln that case, lhe victim testiﬁed that her relationship with the defendant had


 been “good" and that they did many family activities together before he molested her.         Id.    There

 was no such testimony by KW. in this case.          In addition, the Rivers case deal! with sentencing


 for merely two incidents of molmtion over a short period of time, Id. at 143-44. circumstances


 that perhaps convinced the Rivers Court to afford more importance to this factor than is merits


 hagwhcrcSkeensoommimd ﬁveclurgedactsandnmnmusmdurgedactsoveupetiodof

 years.
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 32 of 34


        Next, Skecns contends that his lack of a criminal   mud should result in a lesser sentence.
 (Appellant’s Br. l7). Although the State is aware that, in reviewing Skecns’ sentence under the


 authority of Appellate Rule 7(8), this Cour! conducts an independent review. it does so while


 taking into consideration the unique pelspectivc of the sentencing court. Williams v. Stale, 891


 N.E.2d 621. 633 (Ind. Ct. App. 2008). Herc, the sentencing coun already found Skeens‘ lack of

 criminal history to be a mitigating factor. (Appellant’s App. 301). Funhcnnorc, because Skems

                                                                                       ’
 committed multiple uncharged acts of molamion against K.W., he cannot be said lo          vc lived


 a law-amamg life apart from the charged 05mm. (Tr. S 16, 524-25, 528-30, 533, 542-43. 580).

        Skems also argues that the fact that he had custody of his son should entitle him lo a

 law sentence. (Appellant‘s Br. l7). However, given that he committed acts of molmﬁon
 against K.W. his son was in his custody and while his son was   mmly in another room of the

 house renders this argument unpersuasive.   (Tr. 545-46). In addition, as outlined above. the


 evidence supporting Skecns' employment for a “substantial” petiod of time is scanty. (Green


 App. 356. 359).   Lastly. inasmuch as Skeens suggests that his chmctcr metited probation. he


 was not eligible by law to a fully suspended sentence. (Appellant’s Br. 18); Ind. Code § 35.50-

 2-2(b)(4xH).


        In short, nothing about Skecns‘ character rendcts his sentence inappropriate. Skecns


 nponed to his PSI investigator that his childhood days were the “[blest days of my life.” (Green

 App. 356). Because of Skeens' crimes, K.W. will be unable to make the same statement. In

 light of the egregious nature of his oﬁcnses and his poor charactet. Skeens merits a sentence that


 will ensure that he never has an opponunity to destroy anolhct childhood.
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 33 of 34


                                    CONLUSION

         ForthcfongoingnmﬁneSmetupectﬁdlynqmdmdqumaﬁimﬂuuid

 court in all respects.



                                           Respectfully submitted,


                                           GREGORY F. ZOELLER
                                           ATTORNEY GENERAL or INDIANA
                                           Atty   o.
                                                       95855

                                           Ann L. Goodv7in
                                           DEPUTY ATrORNEY GENERAL
                                           Atty. No. 22365-53
                                           Counselfar Appellee




                                      27
        I
                                     W
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-4 filed 01/07/22 page 34 of 34




          do solemnly amrm under the penalties for peljury that on March 9, 2010, l served upon
 the opposing counsel in the above-entitled cause two copies of the Bn'ef of Appellee by causing
 the same to be deposited in the United States mail ﬁrst-class postage prepaid. addressed as
 follows:


 Jeremy K. Nix
 MATHENY HAHN DBNMAN & NIX, LLP
 45 West Market Street
 P.0. Box I91
 Huntington, IN 46750                                                          A
                                                     Ann L. Goodwin
                                                     Deputy Attorney General

 omce of Attorney General
 Indiana Government Center South, Fiﬁ]! Floor
 302 West Washington Stitct                             \


 Indianapolis. Indiana 46204-2770
 Telephone (3 l 7) 232-0709




                                                28
